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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO

TERESA WILSON,

       Plaintiff,

v.                                                                   No. 22-cv-0269 JHR/SMV

RAJANDEEP SINGH and
GR TRANSPORTATION, INC.,

       Defendants.

               ORDER SETTING TELEPHONIC STATUS CONFERENCE

Date and time:        May 17, 2022, at 10:30 a.m. MDT

Matter to be heard: Case status and the Court’s expectations regarding Initial Disclosures

       A telephonic status conference is set for May 17, 2022, at 10:30 a.m. MDT. Counsel

must call the Court’s AT&T Conference Line, (888) 363-4734 (access code: 4382538), to

connect to the proceedings. The Court requests that counsel read Fed. R. Civ. P. 26(a)(1)

(Required Disclosures—Initial Disclosures) prior to the status conference.

       IT IS SO ORDERED.



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                                                             STEPHAN M. VIDMAR
                                                             United States Magistrate Judge
